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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------------------------X   PETITION FOR REMOVAL
CARMEN RODRIGUEZ,
                                                                            Docket No.: 22-5298
                                            Plaintiff,                      Jury Trial Demanded
         -against-                                                          ECF Case
CVS ALBANY, LLC.

                                             Defendant.
------------------------------------------------------------------------X

         Defendant, CVS ALBANY, L.L.C. i/s/h/a CVS ALBANY, LLC., petitioner for the

removal of this action from the Supreme Court of the State of New York, County of Queens, to

the United States District Court, Eastern District of New York, respectfully show this Honorable

Court:

         FIRST:           Plaintiff commenced an action against the above-named defendant in a Civil

Action brought against it in the Supreme Court of the State of New York, County of Queens,

entitled:

SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF QUEENS
------------------------------------------------------------------------X   Index No.: 715874/2022
CARMEN RODRIGUEZ,
                                            Plaintiff,

         -against-

CVS ALBANY, LLC.

                                             Defendant.
------------------------------------------------------------------------X

         A copy of the Summons and Complaint in this action is annexed hereto as Exhibit “A”

and made a part hereof. Upon information and belief, the foregoing constitutes all process,
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pleadings and orders allegedly served upon the parties in this action. Plaintiff purportedly served

the Summons and Complaint

       SECOND:         This is an action of civil nature in which the District Courts of the United

States have been given original jurisdiction in that there exists diversity of citizenship between the

plaintiff and the defendant and the amount in controversy exceeds the sum of $75,000.00 exclusive

of interests and costs. Accordingly, there exists jurisdiction in the District Court of the United

States as provided in 28 U.S.C. §1332.

       THIRD:          Under the provisions of 28 U.S.C. §1441, the right exists to remove this

civil action from the Supreme Court of the State New York, County of Queens to the United States

District Court for Eastern District of New York, which embraces the place where this action is

pending. In the Complaint, Plaintiff seeks judgment as a result of personal injuries allegedly

sustained as a result of an accident that allegedly occurred on May 14, 2022, at the premises located

at 157-05 Cross Bay Blvd, Howard Beach, NY 11414, County of Queens, City and State of New

York, in which plaintiff sustained severe and permanent injuries.

       FOURTH:         The action involves a controversy between citizens of different States.

Upon information and belief, the Plaintiff is, and was at the commencement of the action, a citizen

of the State of New York. Defendant CVS ALBANY, L.L.C. i/s/h/a CVS ALBANY, LLC. is a

domestic limited liability company having been registered in the State of New York. The

citizenship of a limited liability company is determined by the citizenship of its members. See

Carden v. Arkoma Assocs., 494 U.S. 185, 110 S.Ct. 1015 (1990); Quantlab Fin., LLC, Quantlab

Tech. Ltd. (BVI) v Tower Research Capital, LLC, 715 F Supp 2d 542 (S.D.N.Y. 2010). CVS

PHARMACY, INC. is the sole member of Defendant CVS ALBANY, L.L.C. i/s/h/a CVS

ALBANY, LLC. and is a foreign business corporation at all times having its principal place of
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business at One CVS Drive, Woonsocket, Rhode Island, 02895, and is incorporated in the State of

Rhode Island. As such, the Defendant, CVS ALBANY, L.L.C. i/s/h/a CVS ALBANY, LLC., has

Rhode Island citizenship for purposes of diversity jurisdiction. CVS ALBANY, L.L.C. is wholly

owned subsidiary of CVS Health Corporation. CVS Health Corporation has no parent corporation

and no publicly held corporation owns 10 percent or more of CVS Health Corporation’s stock.

The principal place of business of CVS ALBANY, L.L.C. and CVS Health Corporation is One

CVS Drive, Woonsocket, Rhode Island 02895. As such, Defendant, CVS ALBANY, L.L.C. i/s/h/a

CVS ALBANY, LLC., has Rhode Island citizenship for purposes of diversity jurisdiction.

       FIFTH:          Upon information and belief, Plaintiff’s amount in controversy exceeds the

$75,000.00 threshold exclusive of interest and costs. Plaintiff’s Complaint does not specify the

amount of damages because under New York State CPLR Section 3017(c), a plaintiff in a personal

injury matter filed in the Supreme Court of the State of New York is not permitted to assert the

damages amount in the Complaint. The Complaint sets forth general allegations that Plaintiff’s

damages were in excess of the jurisdictional limits of the lower courts. Furthermore, plaintiff

claims that she sustained severe and permanent personal injuries, was rendered sick, sore, lame

and disabled, and was, and still is, internally and externally injured. If these allegations are

ultimately proven, all of which are expressly denied, then a verdict in this matter could exceed

$75,000.00. Accordingly, there exists original jurisdiction in the District Court of the United States

as provided in 28 U.S.C. Section 1332.

       SIXTH:          The Defendant was purportedly served with a copy of the initial pleading

setting forth the claim upon which this action is based on or about August 3, 2022. Therefore, this

Notice of Removal is timely under 28 U.S.C. Section 1446(b).
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       SEVENTH: Pursuant to 28 U.S.C. Section 1446, a copy of the Summons and Verified

Complaint, which constitutes all process, pleading or orders served or filed by the parties in the

Supreme Court of the State of New York, is attached hereto as Exhibit “A” and incorporated

herein by reference.

       EIGHTH:          By reason of the foregoing, Defendant CVS ALBANY, L.L.C. i/s/h/a CVS

ALBANY, LLC. desires and is entitled to have this action removed from the Supreme Court of

the State of New York, County of Queens to the United States District Court for the Eastern District

of New York, such being the district where this suit is pending.

       NINTH:           Concurrent with the filing of service and petition for removal, Defendant

is serving this petition for removal upon the Plaintiff’s attorney and filing a copy of this petition

for removal with the Clerk of the Court for the Supreme Court of the State of New York County

of Queens.

       TENTH:           This Petition for Removal is signed pursuant to Rule 11 of the Federal

Rules of Civil Procedure.

       WHEREFORE, and without waiver of any substantial or procedural defenses, defendant,

CVS ALBANY, L.L.C. i/s/h/a CVS ALBANY, LLC., prays that the above-entitled action now

pending against it in the Supreme Court of the State of New York, County of Queens be removed

therefrom that Court.

Dated: Garden City, New York
       September 7, 2022                                      By:    Gary Muhlstock
                                                              Gary Muhlstock, Esq.
                                                              CULLEN and DYKMAN, LLP
                                                              Attorneys for Defendant
                                                              CVS ALBANY, L.L.C. i/s/h/a
                                                              CVS ALBANY, LLC.
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